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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                    :     Docket No. 17-119 (NLH)
             Plaintiff,                      :
                                             :
            v.                               :
                                             :
      SANTOS COLON,                          :     APRIL 2020 AMENDED
                                                   CONDITIONAL RELEASE
                                                   ORDER
                   Defendant,       :
                                    :
____________________________________:

      Santos Colon, through his attorney, Richard Coughlin, Federal Public

Defender, having filed a motion for an Amended Order of Conditional Release,

and with no objection from the government, and the Court having previously

executed an Amended Order of Conditional Release on March 20, 2019, and

having entered orders August 20, 2019 and December 3, 2019 which modified the

March 2019 Amended Order of Conditional Release, and upon consideration of the

record that has developed since the entry of the March 2019 Amended Order of

Conditional Release, the Court finds that, continued release of Santos Colon under

the conditions specified below, does not present a danger to the community or

present a risk of nonappearance at future court proceedings.




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      Accordingly, the Court orders that the Amended Order of Conditional

Release executed on March 20, 2019 is vacated and replaced by an April 2020

Amended Order of Conditional Release, subject to the following conditions:

      1) Santos Colon shall continue under the supervision of Pretrial Services
         and shall comply with directions, instructions, and orders issued by
         Pretrial Services, including any orders or instructions to report to that
         Office or to Court.

      2) Santos Colon shall participate in a location monitoring program as
         directed by Pretrial Services. Such monitoring shall include global
         positioning system (GPS) and/or radio frequency (RF) technology at the
         discretion of the Pretrial Services Office. GPS and/or RF technology
         monitoring shall not be removed until further order from the Court.

      3) Consistent with paragraph 14 of the Plea Agreement, Santos Colon’s
         request for transfer to a new location, i.e. to reside with his parents at
         their home, is granted. While residing at his parent’s residence, Santos
         Colon and his property will be subject to search and inspection by his
         parents and Pretrial Services. Mr. Colon’s parent’s having previously
         been approved to serve as third party custodians shall report any violation
         of the release conditions to Pretrial Services. Santos Colon shall not be
         permitted to leave his parent’s residence except as authorized by Pretrial
         Services. Placement at his parent’s residence is appropriate because it has
         been recommended by his treatment team and provides an environment
         that affords Santos Colon access to needed treatment services, including
         mental health treatment, while also ensuring the safety of the community
         and the appearance of Santos Colon at any future court proceedings.
         Consistent with paragraph 14 of the Plea Agreement, Santos Colon may
         not be transferred or otherwise placed in any other treatment facility or
         residence without further order of the Court.

      4) Santos Colon may leave the residence in the company of any escort
         approved by Pretrial Services for educational, medical, legal, religious,
         recreational, or other purposes and activities approved by Pretrial
         Services. Any escort approved by Pretrial Services must agree to assume
         the responsibilities of third-party custodian while Santos Colon is in the
         company and care of such escort or escorts. Such escorts may include an
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       approved mentor, treatment providers, Santos Colon’s parents, and such
       other individuals specifically approved by Pretrial Services. With respect
       to Santos Colon’s parents, any excursion from the residence may include
       overnight stays if approved by Pretrial Services. The duration of any such
       visits is subject to approval by Pretrial Services.

    5) Santos Colon shall participate in and comply with mental health
       treatment and evaluation as directed by Pretrial Services. Such treatment
       may include but is not limited to psychological/psychiatric counseling
       and treatment, behavioral counseling and treatment, family counseling,
       and a regimen of prescribed medications.

    6) Santos Colon shall participate in any educational program as approved by
       Pretrial Services. Santos Colon shall abide by the rules of such
       educational program and shall not leave the premises of such educational
       facility except for educational or medical purposes and only with prior
       approval of Pretrial Services. The educational program shall supervise
       Santos Colon while he is present and report any violations of release
       conditions to Pretrial Services.

    7) Should Santos Colon obtain a valid New Jersey Driver’s License, he shall
       be permitted to operate a motor vehicle subject to the conditions,
       regulations and rules that apply to any other similarly licensed driver. In
       addition, any motor vehicle travel by Santos Colon, must first be
       approved by Pretrial Services. The prior approval requirement applies to
       travel undertaken by Santos Colon as the lawful driver or as a passenger
       in a taxi, car service, or other pay-for-service vehicle. Santos Colon must
       report any police contact, including any motor vehicle stops, to his
       Pretrial Services Officer within 48 hours of the contact.


    8) Santos Colon shall not possess or use a computer as defined in 18 U.S.C.
       § 1030(e) and shall not access on-line (Internet) services except as
       authorized by Pretrial Services. Santos Colon shall provide education
       staff, treatment providers, Pretrial Services, and federal agents working in
       conjunction with Pretrial Services, access to his person, place of
       residence, and place of employment, place of education to allow
       monitoring of this condition.



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    9) Santos Colon shall not associate in any manner with individuals or
       organizations involved in or advocating violent, extremist, or terrorist
       activity, including by means of electronic communications.

    10) Santos Colon shall provide Pretrial Services access to any requested
       financial information, including credit reports, credit card bills, bank
       statements, and telephone bills. Santos Colon shall not acquire or use any
       credit card, debit card, or access any credit through any means without
       prior approval of Pretrial Services. Santos Colon shall not accept any
       monetary funds or instruments of any value from third parties without the
       prior approval of Pretrial Services. He shall immediately (within 4
       hours) report to the Pretrial Services Officer any access to monetary
       instruments made available to him.

    11) Santos Colon shall comply with all of the following general
       conditions of pretrial release, including:

          a. He shall appear at all proceedings as ordered by the court and shall
             surrender for service of any sentence imposed.

          b. He shall not commit any federal, state, or local crime.

          c. He shall not harass, threaten, intimidate, injure, tamper with, or
             retaliate against any witness, victim, informant, juror, or officer of
             the Court, or obstruct any criminal investigation.

          d. He shall surrender all passports and visas to Pretrial Services and
             shall not apply for any passports or other travel documents.

          e. He shall not possess any firearm, destructive devices, or other
             dangerous weapon.

          f. He shall not use alcohol and shall not use or possess any narcotic
             or other controlled substance without a legal prescription. He shall
             also submit to random drug and alcohol testing at the direction of
             Pretrial Services.




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        IT IS FURTHER ORDERED that the Court will convene regular status

conferences at a time and frequency determined by the Court to address Santos

Colon’s status and progress including his medical and/or psychiatric treatment,

education, and compliance with the conditions of release. To that end, and in

accordance with Paragraph 15 of the Plea Agreement, any educational program or

treatment provider shall provide Pretrial Services, counsel for the United States,

and counsel for Santos Colon with unfettered access to any notes, records or

reports relating to or created in connection with the treatment and education of

Santos Colon. Any approved treatment provider and any education program shall,

if requested, provide Pretrial Services with periodic review meetings relating to

Santos Colon. At their discretion counsel for the United States, counsel for Santos

Colon, or representatives of their offices may also participate in such meetings.



        IT IS SO ORDERED.


                                              __________________________
Date:                                         NOEL L. HILLMAN
                                              United States District Judge




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